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              In the United States Court of Federal Claims
                        Nos. 13-00006C; and 13-060000C thru 13-06356C

                                                  )
 PUBLIC HOUSING AUTHORITIES                       )
 DIRECTORS ASSOCIATION, et al.,                   )
                                                  )
                        Plaintiffs,               )
                                                  )
         v.                                       )      (Filed: June 17, 2016)
                                                  )
 THE UNITED STATES OF AMERICA,                    )
                                                  )
                        Defendant.                )
                                                  )


                                              ORDER

       On Wednesday, July 20, 2016 at 11:00 AM EST, the Court shall hold oral argument on

(1) Plaintiffs’ Motion for Summary Judgment and (2) Defendant’s Motion to Dismiss and Cross-

Motion for Summary Judgment at the Howard T. Markey National Courts Building, 717

Madison Place, N.W., Washington, DC 20439. The courtroom shall be noted on the court

calendar posted on the directory in the first floor lobby.

       IT IS SO ORDERED.




                                                      s/ Elaine D. Kaplan
                                                      ELAINE D. KAPLAN
                                                      Judge
